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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

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                              :
UNITED STATES OF AMERICA      :           Crim. No. 3:15CR00025(JCH)
                              :
v.                            :
                              :
BRETT C. LILLEMOE, PABLO      :
CALDERON, AND SARAH ZIRBES    :
                              :
------------------------------x

          RULING ON MOTION TO MODIFY CONDITIONS OF RELEASE

     Defendants Brett C. Lillemoe and Pablo Calderon have filed

a motion, jointly, seeking to amend the conditions of their

release to remove the condition that prohibits them from having

direct contact with each other and discussing case-related

matters without counsel present.      [Doc. # 34]     The motion also

requests a change in the conditions of release for defendant

Lillemoe related to his contact with the third defendant, Sarah

Zirbes.   The Court conducted a hearing on this matter, at which

argument was heard.    After careful consideration of the

arguments raised by all parties, and after review of the

transcripts of the hearings previously held in this matter, the

motion is GRANTED, as set forth below.

     Defendants Lillemoe, Calderon and Zirbes are charged in an

Indictment returned on February 20, 2015, charging them with

various offenses related to an alleged fraud conspiracy.           Each

of the defendants was served with a summons to appear in

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response to the Indictment, and each appeared voluntarily for

their respective arraignments.      Each defendant was ordered

released on bond subject to varying conditions.         At the time of

the defendants’ initial appearances, the government requested,

and the Court imposed, conditions prohibiting the defendants

from having contact with victims, witnesses and each other.

[Doc. ## 11, 21, 24]

     The Court considers the question of whether this condition

should be applied to these defendants de novo.         See, e.g.,

United States v. Snead, Crim. No. 12-132M, 2014 WL 4473773, at

*5 (D.R.I. Feb. 4, 2014).     While the challenged condition is

currently in place, and the Court comes to consider the question

upon motion of the defendants, the defendants do not bear the

burden of persuading the Court that the challenged condition is

inappropriate.   Rather, the Court must determine whether the

condition is appropriate based on the complete record.          “The

judicial officer may at any time amend the order to impose

additional or different conditions of release.”          18 U.S.C. §

3142(c)(3).

     When a defendant appears before the Court on a question of

detention or release, the Court must first consider whether the

defendant can be released on his own recognizance, or subject

only to an unsecured bond.     If the Court determines that

releasing the defendant under those conditions “will not

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reasonably assure the appearance of the person as required or

will endanger the safety of any other person or the community,”

the Court “shall order the pretrial release of the person …

subject to the least restrictive further condition, or

combination of conditions, that [the Court] determines will

reasonably assure the appearance of the person as required and

the safety of any other person and the community[.]”            18 U.S.C.

§§ 3142(c)(1)(A), (B) (alterations added).

     The Court previously imposed a number of restrictive

conditions on the defendants designed to ensure both their

appearance as directed and the safety of the community.            The

government contends that the previously imposed condition

barring these two defendants from communicating with each other

without an attorney present is necessary to “preserve the

integrity of the trial process by helping prevent defendants

from collaborating on their stories.”         Gov’t Response, Doc. # 42

at 6.   The defendants contend that the condition places “an

undue and unnecessary burden” on them while “effectively

impairing their ability to prepare a defense.”           Defts’ Motion,

Doc. # 34 at 3.

     A person charged by way of an indictment may “be subject to

pre-trial release conditions that infringe upon his

constitutional rights, provided that there has been an

independent judicial determination that such conditions are

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necessary.”      United States v. Laurent, 861 F. Supp. 2d 71,

91 (E.D.N.Y. 2011) (compiling cases).          Here, at least two

significant interests of the defendants are affected by the

challenged condition: (1) the right to free association,

guaranteed by the First Amendment, and (2) the ability to

prepare fully for defense against a felony criminal charge.

     To restrict the defendants’ rights to associate with each

other, and to prepare their defense as they see fit, there must

be a powerful countervailing concern for the safety of the

community.     There must also be a showing that these particular

defendants are likely to engage in conduct that would endanger

the community, should the condition be lifted.            The fear that

criminal defendants generally, or even fraud defendants in

particular, might end up “shading, spinning, or dissembling the

truth” if given the opportunity, Gov’t Resp., Doc. #42 at 4, is

not enough.      The determination must be made on an individualized

basis.     See, e.g., United States v. Lee, 972 F. Supp. 2d 403,

408 (E.D.N.Y. 2013).       A specific condition of release that might

very well be reasonable where based on “individualized

suspicion” might not be reasonable if no such individualized

analysis is conducted.       Berry v. District of Columbia, 833 F.2d

1031, 1035 (D.C. Cir. 1987).

     The government contends that the allegations in the

Indictment, which include claims that the defendants altered

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documents and made false statements, support imposition of the

no-contact condition.    The defendants argued at the hearing that

the Court should give no weight to these allegations, as they

remain unproven.    The law, in fact, takes something of a middle

ground.   Of course, the defendants are presumed innocent, and

any allegations in the Indictment are nothing more than

allegations.    But the relevant statute specifically directs the

Court to consider “the nature and circumstances of the offense

charged[.]”    18 U.S.C. § 1342(g)(1).     The fact that the Grand

Jury found probable cause to believe that these defendants

created false documents and made false statements to the

authorities is certainly relevant to the question of whether

they can be trusted to collaborate without colluding.          However,

it is not dispositive.

     At the hearing, the government pointed to 18 U.S.C. §

3142(c)(1)(B)(v) as providing support for imposition of the

challenged condition.    The government described this provision

as setting forth a “standard condition” of release.          The

relevant portion of the statute including that section provides:

     If the judicial officer determines that [release on
     personal recognizance] will not reasonably assure the
     appearance of the person as required or will endanger
     the safety of any other person or the community, such
     judicial officer shall order the pretrial release of
     the person … subject to the least restrictive …
     combination of conditions, that such judicial officer
     determines will reasonably assure the appearance of
     the person as required and the safety of any other

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     person and the community, which may include the
     condition that the person … avoid all contact with an
     alleged victim of the crime and with a potential
     witness who may testify concerning the offense[.]

18 U.S.C. § 3142(c)(1)(B)(v).      Thus, the Court may impose only

the “least restrictive” combination of restrictions that will

“reasonably assure” appearance and safety, and among the

possible restrictions available, the Court may direct the

defendant to avoid contact with victims and potential witnesses.

     There is no mention in this provision of prohibiting

contact with co-defendants.     While the government argues,

correctly, that a co-defendant could eventually become a

witness, there is a meaningful difference between third party

witnesses and defendant witnesses in this context.         The no-

contact condition set forth in the statute “seeks to prevent a

defendant from intimidating someone who, by nature of being a

victim or a potential witness, is already in a difficult and

delicate position.”    United States v. De Castro-Font, 587 F.

Supp. 2d 364, 368 (D.P.R. 2008).      Here, there is no such worry.

The two people in question – Mr. Lillemoe and Mr. Calderon –

each seek to speak to each other, and neither seeks the

protection of the Court or the government from intimidation by

the other.

     Even if the statutory no-contact condition were to be

considered “standard,” automatic application of such a


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restriction in all fraud cases would be improper.         The

government’s legitimate concern for protecting the community

“does not create a per se rule that this government interest

always outweighs the constitutional right of liberty; for, if

that conclusion were perpetually so, then it would deny due

process.”   United States v. Karper, 847 F. Supp. 2d 350, 359

(N.D.N.Y. 2011) (internal quotation marks and citation omitted)

(finding mandatory bail conditions imposed by Adam Walsh Act

violated Fifth Amendment due process right).         The Court cannot

assume that a certain restriction is necessary in all cases of a

certain type; rather, the Court must consider “particularized

evidence” and make an “individualized determination” of the need

for the restriction.    United States v. Arzberger, 592 F. Supp.

2d 590, 601, 602 (S.D.N.Y. 2008).         And the mere worry that an

indicted person may commit a crime, such as obstruction of

justice or evidence tampering, is not sufficient to justify

every restraint on that person because “[c]rime prevention is a

quintessential general law enforcement purpose and therefore is

the exact opposite of a special need.”         United States v. Scott,

450 F.3d 863, 870 (9th Cir. 2006) (alteration added).

     “Detention determinations must be made individually and, in

the final analysis, must be based on the evidence which is

before the court regarding the particular defendant.”           United

States v. Tortora, 922 F.2d 880, 888 (1st Cir. 1990) (compiling

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cases).   The government conceded at oral argument that there is

no evidence that these particular defendants have engaged in

obstruction of justice or other improper acts since their

initial arrest and appearance.      There has been no showing, in

short, that permitting Mr. Lillemoe and Mr. Calderon to discuss

their defense without the presence of counsel “will endanger the

safety of any other person or the community.”         18 U.S.C. §

3142(c)(1).    The Court must impose the least restrictive set of

conditions that will reasonably assure the safety of the

community.    The Court finds that the condition barring

defendants Lillemoe and Calderon from communicating outside the

presence of counsel is not necessary to reasonably assure the

safety of the community, on the record as it now stands.

     Should the government present evidence that these

defendants are engaging in illegal activity, including

obstruction of justice or evidence tampering, in the course of

their contact with one another, the Court will immediately

convene another hearing, with both defendants present.          As

counsel were advised at the time of the hearing, the Court would

not hesitate to act as if it were established that these

defendants engaged in illegal activity.        The consequences for

such illegal activity, or any other violation of the conditions

of release, could include the imposition of more stringent

conditions of release; forfeiture of the bond by themselves and

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any sureties; and/or an order of pre-trial detention.            In

addition, should the defendants at some point face sentencing in

this matter, such conduct could be considered in connection with

the Sentencing Guidelines provisions regarding acceptance of

responsibility and obstruction of justice.          The defendants are

reminded that the commission of any felony while released on

bond could result in the imposition of an additional term of

imprisonment of up to ten years, to run consecutive to any

sentence imposed in this case, and the commission of any

misdemeanor could result in a consecutive sentence of up to one

year.

     Furthermore, the Court advises the defendants, as they were

advised at the time of their release, that it is a crime

punishable by up to ten years in prison, and a $250,000 fine, or

both, to: obstruct a criminal investigation; tamper with a

witness, victim, or informant; retaliate or attempt to retaliate

against a witness, victim, or informant; or intimidate or

attempt to intimidate a witness, victim, juror, informant, or

officer of the court.

     For the reasons set forth above, it is hereby ORDERED that

the conditions of release for defendant Calderon [Doc. # 24] are

amended so that Condition (7)(g) shall now provide that Mr.

Calderon shall “avoid all contact, directly or indirectly, with

any person who is or may be a victim or witness in the

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investigation or prosecution.     Mr. Calderon may have contact

with Mr. Lillemoe, without the presence of counsel.         Mr.

Calderon may not have contact with Ms. Zirbes except in the

presence of counsel.”

     In addition to his motion relating to contact with Mr.

Calderon, defendant Lillemoe also requests that he be permitted

to have unrestricted contact with defendant Zirbes.         As the

Court noted at the hearing, no similar motion has been received

from Ms. Zirbes.   After discussion, the parties agreed that it

is appropriate to amend the conditions of Mr. Lillemoe’s release

to mirror those applicable to Ms. Zirbes on this matter.

Accordingly, it is hereby ORDERED that the conditions of release

for defendant Lillemoe [Doc. # 21] are amended so that Condition

(7)(g) shall now provide that Mr. Lillemoe shall “avoid all

contact, directly or indirectly, with any person who is or may

be a victim or witness in the investigation or prosecution.            Mr.

Lillemoe may have contact with Mr. Calderon, without the

presence of counsel.    Mr. Lillemoe may work with Ms. Zirbes and

communicate as required for work purposes, but Mr. Lillemoe and

Ms. Zirbes shall not discuss matters related to this case except

in the presence of counsel.”

     Both defendants are advised that there has been no change

to the condition barring them from having any direct or indirect



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contact with victims and witnesses other than the changes

relating to their co-defendants.

     Counsel for all defendants are directed to provide a copy

of this order to their clients directly.       Counsel are further

directed to advise their clients of the potential penalties for

violation of the conditions of release.

     SO ORDERED at New Haven this 28th day of May, 2015.



                                      /s/
                                  HON. SARAH A. L. MERRIAM
                                  UNITED STATES MAGISTRATE JUDGE




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